






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00614-CV






Michael L. Buesgens, Appellant


v.


Falcon Apartments of Austin, Ltd. d/b/a South Falcon Ridge Apartments, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-06-00678, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N




	Appellant Michael L. Buesgens seeks to appeal from a county court at law judgment 
in favor of appellee Falcon Apartments of Austin, Ltd. d/b/a South Falcon Ridge Apartments. 
Falcon Apartments of Austin, Ltd. has filed a motion to dismiss the appeal for want of jurisdiction. 
See Tex. R. App. P. 42.3(a).  Buesgens wishes to appeal a judgment that was signed on June 20,
2006.  He filed a timely motion for new trial on July 3, 2006, extending the deadline for filing his
notice of appeal until September 18, 2006.  See Tex. R. App. P. 26.1(a)(1).  His deadline to seek an
extension of time to file his notice of appeal expired on October 3, 2006.  See Tex. R. App. P. 26.3. 
Buesgens's notice of appeal from the June 20, 2006 judgment, filed with the Travis County Clerk's
office on October 11, 2006, was untimely.  See Tex. R. App. P. 26.1(a)(1); 26.3.

	On December 5, 2006, this Court requested a written response, on or before
December 18, 2006, showing why this Court might have jurisdiction over his appeal.  None of
Buesgens's subsequent filings demonstrate this Court's jurisdiction.

	Under the circumstances, we lack jurisdiction to dispose of the purported appeal in
any manner other than dismissal for want of jurisdiction.  See Verburgt v. Dorner, 959 S.W.2d 615,
617 (Tex. 1997) (holding that party cannot invoke appellate court's jurisdiction after expiration of
time for seeking extension to file notice of appeal).  We dismiss appellee's motion and dismiss the
appeal.  Tex. R. App. P. 42.3(a). 


					                                                                                    

					Bob Pemberton, Justice


Before Justices Puryear, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   December 20, 2006


